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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                  www.flsb.uscourts.gov



IN RE:                                                       CASE NO. 09-34791-BKC-RBR

ROTHSTEIN ROSENFELDT ADLER, P.A.,                            CHAPTER 11

      Debtor
____________________________________/

              SUPPLEMENTAL DECLARATION OF JASON S. MAZER, ESQ.
                   ON BEHALF OF VER PLOEG & LUMPKIN, P.A.,
                 AS SPECIAL INSURANCE AND CONFICTS COUNSEL
                  TO HERBERT M. STETTIN, CHAPTER 11 TRUSTEE

         1.    I am an attorney and shareholder of Ver Ploeg & Lumpkin, P.A. (“VPL”), with

offices at 100 Southeast Second Street, 30th Floor, Miami, Florida 33131.

         2.    On April 2, 2010, Herbert M. Stettin, Chapter 11 Trustee (“Trustee”) filed an

Application to employ Jason S. Mazer and VPL as Special Insurance/Conflicts Counsel [D.E.

496] (the “Application”). This Court entered an Order Granting the Application on April 23,

2010 [D.E. 575].

         3.    I am familiar with the matters set forth herein and make this Supplemental

Declaration in support of the Trustee’s Application.

         4.    This Supplemental Declaration is made for purposes of supplementing the

representations in the Affidavit of Jason S. Mazer and VPL [D.E. 496], and except to the extent

supplemented herein, all other representations, statements and disclosures made in the Affidavit

are reaffirmed in all respects.

         5.    VPL has performed services in the past for parties-in-interest in the Debtor’s

Chapter 11 proceeding.     Specifically, VPL represented Robert Furr, in his capacity as Chapter 7
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Trustee of the Estate of Bravo! Brands, Inc. v. Lazer Levine & Felix LLP, et al., Chapter 7 Case

No. 07-17840-BKC-PGH, Adversary No. 09-01997-BKC-PGH-A, with respect to insurance

related matters.    VPL recently learned that Mr. Furr currently represents creditor LMB Funding

Group in this action. 1 VPL has not performed services for nor has it consulted with Mr. Furr on

any matters related to or that would be adverse to the Debtor’s estate. Accordingly, VPL does

not hold or represent any interest adverse to the Debtor or the estate with respect to its prior

representation of Mr. Furr.

         6.      VPL also very briefly represented Kenneth A. Welt, as Liquidating Trustee of All

American Semiconductor, Inc., Case No. 07-12963-BKC-LMI, with respect to insurance matters.

VPL recently learned that Mr. Welt is the claims agent for the Debtor. VPL does not, insofar as

I can ascertain, hold or represent any interest adverse to the Debtor or its estate with respect to

VPL’s prior representation of Mr. Welt.

         7.      Additionally, the undersigned and VPL provide insurance related advice to the

Trustee in connection with an adversary proceeding commenced by the Trustee against Gibraltar

Bank captioned Stettin v. Gibraltar Private Bank and Trust Company, FSB, Adv. No. 10-03802-

BKC-RBR-A (the “Gibraltar Adversary”).                While VPL does not and has not represented

Gibraltar Bank, VPL currently maintains its payroll account with Gibraltar Bank. Also, one of

VPL’s shareholders maintains a personal checking account at Gibraltar Bank.                        While the

undersigned and VPL do not believe such banking relationships represent an interest adverse to

VPL’s role as special insurance counsel to the Trustee in the Gibraltar Adversary, the partner

who has a personal account with Gibraltar Bank will nonetheless not be involved in the

representation of the Trustee in the Gibraltar Adversary. Moreover, any communications with

1
  Mr. Furr recently filed a Motion to Withdraw as counsel for LMB Funding Group. The Motion is currently
pending.

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Gibraltar Bank regarding VPL’s payroll account have been and will continue to be handled by

VPL’s in-house controller and not by any of the attorneys representing the Trustee in the

Gibraltar Adversary.

                                    28 U.S.C. §1746 Declaration

         I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 12, 2011.



                                               /s/       Jason S. Mazer
                                                         Jason S. Mazer




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served

electronically to CM/ECF subscribers and via Regular U.S. Mail, postage prepaid, fax, email

and/or overnight delivery, as indicated, upon all parties on the attached Service List this 12th day

of April, 2011.

                                                               /s/     Jesus M. Suarez
                                                                       Jesus M. Suarez, Esq.




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